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    6 Attorneys for Plaintiff,

    7 BEATBOX MUSIC

    8
                            UNITED STATES DISTRICT COURT
    9

   10                     CENTRAL DISTRICT OF CALIFORNIA

   11
                                                  CASE NO: 2:17-cv-6108 MWF (JPRx)
   12 BEATBOX MUSIC PTY, LTD.,
                                                  Assigned to the Hon. Michael W.
   13                     Plaintiff,              Fitzgerald
   14
                                 v.               FIRST AMENDED COMPLAINT
   15                                             FOR DAMAGES FOR:
        LABRADOR ENTERTAINMENT, INC.                1) BREACH OF CONTRACT
   16 D/B/A SPIDER CUES MUSIC
                                                    2) BREACH OF COVENANT
   17 LIBRARY, a California corporation;               OF GOOD FAITH AND FAIR
        NOEL PALMER WEBB, an individual;               DEALING
   18 MICHAEL COHEN, an individual;
                                                    3) ACTION FOR INDEMNITY
   19 LABRADOR ENTERTAINMENT,                          UNDER WRITTEN
        LLC; MCPC HOLDINGS, LLC; WEBB                  INDEMNITY CONTRACT
   20 FAMILY TRUST and DOES 1-20,
                                                    4) BREACH OF FIDUCIARY
   21 inclusive,                                       DUTY
   22                     Defendants.               5) ALTER EGO
                                                    6) FRAUDULENT
   23                                                  CONVEYANCES
   24
                                                  Trial Date:        June 23, 2020
   25                                             Cross-Claim Filed: November 21, 2017
   26                                             Action Filed:      August 17, 2017

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    1
                                           PARTIES

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              1.    Plaintiff BEATBOX MUSIC PTY, LTD (“Beatbox”) is a music

    3
        publisher located at Suite 9, 7 Ramsay Road, Pennant Hills NSW 2120, Australia.

    4         2.    Defendant LABRADOR ENTERTAINMENT, INC. D/B/A as SPIDER
    5 CUES MUSIC LIBRARY. (“Labrador”) is a California corporation with its central

    6 office located at 22400 Sentar Road, Woodland Hills, California 91364. Labrador

    7 was incorporated on October 17, 2000 and remains incorporated on the date this

    8 pleading is filed.

    9         3.    Defendant LABRADOR ENTERTAINMENT, LLC is a California
   10 corporation with its central address located at 23679 Calabasas Rd. Suite 1087,

   11 Calabasas, CA 91302. LABRADOR ENTERTAINMENT, LLC was incorporated on

   12 October 31, 2016 and remains incorporated on the date this pleading is filed. Webb

   13 caused LABRADOR ENTERTAINMENT, INC. to transfer all of its assets to

   14 LABRADOR ENTERTAINMENT, LLC. and/or THE WEBB FAMILY TRUST

   15 after becoming aware of the claims against Defendant Labrador which are the

   16 subject of this suit.

   17         4.    Defendant NOEL PALMER WEBB (“Webb”) is an individual who
   18 resides at 22400 Sentar Road, Woodland Hills, California 91364. Webb is the

   19 President of Labrador Entertainment, LLC and Labrador Entertainment, Inc.

   20         5.    Defendant, THE WEBB FAMILY TRUST, is a trust owning 100
   21 percent stock in Labrador Entertainment, LLC.

   22         6.    Defendant Michael Cohen (“Cohen”) is an individual who resides, on
   23 information and belief, in Los Angeles, California and is a composer of musical

   24 compositions. Cohen claims to have written the Musical Composition, the subject

   25 of this lawsuit.

   26         7.    Defendant MCPC HOLDINGS, LLC, is a Nevada Corporation with its
   27 central address located at 2050 S MAGIC WAY #295, HENDERSON, NV, 89002,

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    1 USA. MCPC HOLDINGS, LLC was incorporated on June 19, 2017 and remains

    2 incorporated on the date this pleading is filed.

    3        8.     Defendant Michael Cohen caused all of his security interests to be
    4 transferred to MCPC Holdings, LLC after becoming aware of the claims against

    5 him which are the subject of this lawsuit.

    6        9.     At all times herein mentioned, all Defendants, individually and
    7 collectively, are and were agents and/or joint venturers of each other, and in doing

    8 the acts alleged herein were acting within the course and scope of such agency.

    9        10.    Each Defendant had actual and/or constructive knowledge of the acts
   10 of the other Defendant as described herein, and ratified, approved, joined in,

   11 acquiesced in, and/or authorized the acts of the other, and/or retained the benefits of

   12 said acts.

   13                            JURISDICTION AND VENUE
   14        11.    This Court has subject matter jurisdiction over this action pursuant to
   15 28 U.S.C. § 1332 because the Plaintiff is a citizen of a foreign state, Australia, and

   16 Defendants are citizens of California and the amount in controversy is in excess of

   17 $75,000.00.

   18        12.    Moreover, Plaintiff and Defendants executed an Agreement on April 1,
   19 2009 (hereinafter the “2009 Agreement”), binding them to the laws and exclusive

   20 jurisdiction of the State of California. See attached Exhibit A.

   21        13.    This Court also has subject matter jurisdiction under 28 U.S.C. §
   22 1367(a) over Plaintiff’s claims seeking damages for violations of state law because

   23 said claims arise out of the same case or controversy for which, as set forth above,

   24 this Court already has proper subject matter jurisdiction.

   25        14.    This Court has personal jurisdiction over Defendants in that, among
   26 other things, Defendants do business in this Judicial District, and Plaintiffs do

   27 business and are suffering harm in this Judicial District.

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    1        15.     Venue is proper in this Judicial district pursuant to 28 U.S.C. §§
    2 1391(b)-(d).

    3                        FACTS COMMON TO ALL COUNTS
    4        16.     On or about February 2008, Defendant Labrador and Defendant Cohen
    5 entered into a written agreement wherein Defendant Cohen represented and

    6 warranted that all musical compositions provided to Labrador were his “sole,

    7 exclusive and original work” and that they did not “infringe upon or violate the

    8 copyrights or any other rights whatsoever of any person, firm, or entity.” See

    9 attached Exhibit A, “Composer’s Agreement”. Composer’s Agreement also

   10 requires indemnity for Cohen’s infringing acts.

   11        17.     At all relevant times herein, Plaintiff was an intended beneficiary of the
   12 written agreement between Defendant Cohen and Defendant Labrador.

   13        18.     Beatbox entered into the 2009 Agreement with Labrador, which
   14 established Beatbox as the sole Sub Publisher for the licensed territory for the

   15 introduction and exploitation of all records made to be issued during the term of the

   16 2009 Agreement and any extensions thereto by the Publisher, Labrador, of musical

   17 compositions and sound recordings issued as part of the background music library

   18 catalogue known as Spider Cues Music Library (“Music Library”). See attached

   19 Exhibit B.

   20        19.     At all relevant times, Beatbox only used musical compositions which
   21 were in the Music Library at the time of use.

   22        20.     On or about February, 2014, an amendment was made to the 2009
   23 Agreement, it was signed and executed by both Beatbox and Labrador’s President,

   24 Noel Webb. See attached Exhibit C.

   25        21.     Section 16 of the 2009 Agreement lays out the representations and
   26 warranties which Labrador and Beatbox agreed upon. See attached Exhibit A.

   27        22.     In Section 16(iv) of the 2009 Agreement, Labrador represents and
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    1 warrants that all compositions subject to the 2009 Agreement are original and that

    2 none of the compositions infringes upon any other copyrighted work or the rights of

    3 any third party. See attached Exhibit A.

    4        23.   In Section 16(v) of the 2009 Agreement, Labrador “agrees to
    5 indemnify and hold harmless the Sub-Publisher, its successors and assigns of and

    6 from any and all loss, liability and expense incurred by reason of any infringement

    7 of rights or other claim inconsistent with the Publisher’s guarantees, warranties,

    8 representations, and undertaking contained in this Agreement” (“Indemnity

    9 Clause”). See attached Exhibit A.

   10        24.   On or about 2009, Labrador periodically sent music to Beatbox for use
   11 by Beatbox consistent with the 2009 Agreement to arrange the music into albums to

   12 provide to Beatbox’s clients.

   13        25.    On or about 2009, Beatbox provided Defendant Labrador with an excel
   14 spreadsheet which contained instructions as to how each track was arranged and to

   15 be used by Beatbox’s clients.

   16        26.    On or about 2012, Defendant Labrador emailed Beatbox stating that
   17 Labrador is putting its music tracks into an album format, yet the music was still the

   18 same music just in a different form. Defendant Labrador stated that Beatbox did not

   19 need to change the way Beatbox was offering the Music Library.

   20        27.    On or about 2014, Labrador stated that it was once more rearranging its
   21 library albums. However, this time, Labrador indicated that it would be removing

   22 selected tracks, remastering some of the music, in an attempt to create a better

   23 overall impression of Labrador’s compositions. Labrador further stated that it

   24 wanted all sub-publishers, including Plaintiff, to use the newly created line up of

   25 albums for the Music Library (hereinafter referred to as the “New Music Library”).

   26        28.    On or about 2014, Beatbox met with Defendant Labrador in Los
   27 Angeles, California, to discuss issues that arose from Labrador’s changes to the

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    1 Music Library. The meeting ended with the agreement that Labrador was to send

    2 Beatbox the music that was to be included in the New Music Library which would

    3 be issued to Beatbox’s clients.

    4        29.    Labrador failed to direct Beatbox to remove any music tracks found in
    5 the existing Music Library (which had already been circulated to clients) which, on

    6 information and belief, Labrador knew or had reason to know that such tracks

    7 allegedly potentially infringed the rights of third parties.

    8        30.    Importantly, Labrador never directed Beatbox to remove the relevant
    9 track from circulation for licensing.

   10        31.    On or about 2014, Defendant Labrador failed to properly send the
   11 agreed upon music files to Beatbox in the appropriate format. Many of the tracks

   12 that Labrador sent did not contain the requisite metadata needed for Beatbox to

   13 issue the music to clients. The metadata pertained to the information associated with

   14 each track, including but not limited to, the artist, track title, composer, and date of

   15 creation.

   16        32.    On or about 2014, after Defendant Labrador sent insufficient musical
   17 compositions to Beatbox, Labrador sent Beatbox a “Fix List” of titles that needed to

   18 be removed from the collection of music that Labrador had already sent. The “Fix

   19 List” contained a list of track title changes as well as composer name changes.

   20        33.    In response to the “Fix List”, Beatbox reiterated for the second time
   21 that Labrador needed to send Beatbox only the Music Library files that could be

   22 distributed with sufficient metadata that Beatbox could then issue to clients.

   23 Labrador did not send the updated Music Library to Beatbox.

   24        34.    On or about 2014, the New Zealand National Party (hereinafter the
   25 “NZ Party”) used a track from the Music Library entitled “Eminem esque”,

   26 (hereinafter the “Musical Composition”) in their television commercial.

   27        35.    On or about 2014, the NZ Party was notified by the owner, Marshall
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    1 Mathers and his publishing entities (collectively “8 Mile”), that the Musical

    2 Composition was allegedly infringing on the rights of 8 Mile in the musical

    3 composition known as “Lose Yourself.” Soon thereafter, 8 Mile demanded $1.5

    4 million US dollars from the NZ Party for the alleged infringement.

    5        36.    The NZ Party took down the commercial, but refused pay the monetary
    6 settlement demanded by 8 Mile.

    7        37.    On or about 2014, 8 Mile filed suit against NZ Party in New Zealand,
    8 alleging that the soundtrack for the 2014 election campaign advertisement infringed

    9 the recording artist’s Eminem’s “Lose Yourself.”

   10        38.    The Australian Mechanical Copyright Owners Society (hereinafter
   11 “AMCOS”) has continually deducted from Beatbox’s royalty payments over the

   12 past three years, starting on or about April 3, 2015. The reasoning for these

   13 deductions was to cover AMCOS’s external legal fees in relation to the case in New

   14 Zealand. From April 2015 to May 2017, AMCOS has deducted $231,221.33 US

   15 from Beatbox for AMCOS’ alleged legal fees.

   16        39.    On or about 2015, AMCOS reached a settlement agreement with 8
   17 Mile in relation to the use, by Beatbox’s clients based in Australia, of the allegedly

   18 infringing track over the past seven years. On information and belief, the settlement

   19 amount was $70,686.00 US. The settlement was agreed upon without any

   20 consultation with or approval from Beatbox.

   21        40.    On or about June 5, 2015 to on or about May 15, 2017, Beatbox has
   22 incurred legal fees related to this lawsuit totaling $320,367.36 US.

   23        41.    On or about 2015, Beatbox was joined to the action by the NZ Party
   24 and AMCOS (the entity that granted the license to the Musical Composition to the

   25 NZ Party) as the New Zealand equivalent of a third party defendant.

   26        42.    In 2014, Beatbox notified Labrador that Beatbox expected to be
   27 indemnified pursuant to the Indemnity Clause of the 2009 Agreement.

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    1        43.   To date, Labrador has refused to honor its indemnity obligations.
    2        44.   As a result of the Defendants actions, Plaintiff has suffered extensive
    3 financial damages, far in excess of $75,000.00.

    4                            FIRST CAUSE OF ACTION
    5                                 (Breach of Contract)
    6                           (Against Labrador and Cohen)
    7        45.    Plaintiff repeats and re-alleges paragraphs 1 through 40 contained in
    8 this Complaint, as though said paragraphs were set forth fully herein.

    9        42.   On or about February 2008, Defendant Labrador and Defendant Cohen
   10 entered into a written agreement wherein Defendant Cohen represented and

   11 warranted that all musical compositions provided to Labrador were his “sole,

   12 exclusive and original work” and that they did not “infringe upon or violate the

   13 copyrights or any other rights whatsoever of any person, firm, or entity.” See

   14 attached Exhibit A. Composer’s Agreement also requires indemnity for Cohen’s

   15 infringing acts.

   16        43.   At all relevant times herein, Plaintiff was an intended beneficiary of the
   17 written agreement between Defendant Cohen and Defendant Labrador.

   18        44.   Plaintiff Beatbox and Defendants entered into an enforceable contract,
   19 the 2009 Agreement, in which Beatbox received the rights to use the Music Library

   20 in consideration of an advancement of $3,500.00.

   21        45.   The contract also contained an Indemnity Clause, which both parties
   22 agreed to, stated that Labrador would be liable for any copyright infringement issues

   23 that arose from use of the Music Library.

   24        46.   Plaintiff Beatbox fully performed its obligations under the contract by
   25 paying Defendant Labrador the advancement of $3,500.00 for the use of the Music

   26 Library and otherwise complying with its obligations during the term of the

   27 Agreement.

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    1        47.   Defendants breached the contract by violating Section 16(iv) of the
    2 2009 Agreement which guaranteed that the compositions were original and that none

    3 of the compositions infringed any other copyright work or the rights of any third

    4 party. See Exhibit A.

    5        48.   Under the impression that all compositions were free from any
    6 copyright infringement, Plaintiff Beatbox provided the NZ Party with the track

    7 entitled “Eminem esque”, a track from the Music Library provided by Defendant

    8 Labrador.

    9        49.   The NZ Party used the selection “Eminem esque” for the creation of its
   10 commercial, which resulted in multiple lawsuits/claims in Australia and New

   11 Zealand regarding copyright infringement. These lawsuits occurred through a direct

   12 breach of the 2009 Agreement by Defendants.

   13        50.   As a direct and proximate result of Defendants’ breaches, Plaintiff has
   14 suffered damages in excess of $75,000.00.

   15        WHEREFORE, Plaintiff Beatbox prays for judgment as set forth below.
   16                           SECOND CAUSE OF ACTION
   17                (Breach of Covenant of Good Faith and Fair Dealing)
   18                               (Against All Defendants)
   19        51.   Plaintiff repeats and re-alleges paragraphs 1 through 50 contained in
   20 this Complaint, as though said paragraphs were set forth in fully herein.

   21        52.   On or about February 2008, Defendant Labrador and Defendant Cohen
   22 entered into a written agreement wherein Defendant Cohen represented and

   23 warranted that all musical compositions provided to Labrador were his “sole,

   24 exclusive and original work” and that they did not “infringe upon or violate the

   25 copyrights or any other rights whatsoever of any person, firm, or entity.” See

   26 attached Exhibit A. Composer’s Agreement also requires indemnity for Cohen’s

   27 infringing acts.

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                              FIRST AMENDED COMPLAINT FOR DAMAGES
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 1          53.   At all relevant times herein, Plaintiff was an intended beneficiary of the
 2 written agreement between Defendant Cohen and Defendant Labrador.

 3          54.   Plaintiff and Defendant Labrador are parties to a contract with one
 4 another under the 2009 Agreement appointing Plaintiff as the Sub-Publisher for

 5 Defendant Labrador’s Music Library.

 6          55.   Every contract imposes the duty of good faith and fair dealing upon the
 7 parties in performance and enforcement of the contract.

 8          56.   Implied in the 2009 Agreement between Plaintiff Beatbox and
 9 Defendants was a covenant of good faith and fair dealing.

10          57.   Defendants acted in bad faith by sending Musical Compositions that
11 were not original and that infringed other copyright work and the rights of a third

12 party.

13          58.   As a direct and proximate result of Defendants’ breach of the covenant
14 of good faith and fair dealing, Defendants have directly caused damages to Plaintiff

15 Beatbox, in the form of bad faith reputational damages and financial damages as a

16 result of third party lawsuits and claims.

17          WHEREFORE, Plaintiff Beatbox prays for judgment for all damages as
18 revealed during discovery and proven at trial.

19                              THIRD CAUSE OF ACTION
20                                   (Express Indemnity)
21                                   (Against Labrador)
22          59.   Plaintiff repeats and re-alleges paragraphs 1 through 58 contained in
23 this Complaint, as though said paragraphs were set forth fully herein.

24          60.   Plaintiff Beatbox and Defendants entered into the aforementioned 2009
25 Agreement which contained, among other things, Express Indemnity and Guarantee

26 Clauses.

27          61.   Pursuant to the Express Indemnity and Guarantee Clauses in Section
28
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 1 16(v), Defendant Labrador “agrees to indemnify and hold harmless the Sub-

 2 Publisher, its successors and assigns of and from any and all loss, liability and

 3 expense incurred by reason of any infringement of rights or other claim inconsistent

 4 with the Publisher’s guarantees, warranties, representations, and undertaking

 5 contained in this agreement.”

 6         62.   Furthermore, section 16(iv) of the 2009 Agreement states that the
 7 compositions provided in the Music Library are original and that none of the

 8 compositions infringe any other copyright work or the rights of any third party.

 9         63.   However, Defendants directly violated section 16(iv) of the 2009
10 Agreement by sending Plaintiff Beatbox a Music Library that was not original and

11 infringed other copyright work and the rights of a third party.

12         64.   As a direct and proximate result of Defendants actions, Plaintiff
13 Beatbox has incurred and continues to incur an undetermined amount of damages.

14 Furthermore, the Indemnity Clause in the executed 2009 Agreement at Section 16(v)

15 authorizes “the liability and expense incurred by reason of any infringement of rights

16 or other claim inconsistent with the Publishers guarantees, warranties,

17 representations, and undertakings to be paid to Plaintiff Beatbox, including the

18 recovery of reasonable attorney’s fees in any action to enforce the terms of the

19 Indemnity Clause.

20         65.   By virtue of the 2009 Agreement and/or applicable law, said
21 Defendants must hold Plaintiff harmless and indemnify them for the amount of any

22 judgment or settlement, and for expenses, costs, legal fees, and other damages and

23 costs which Plaintiff incurs in connection with the copyright infringement of the

24 Musical Composition. The total amount of Plaintiff Beatbox’s costs and attorneys’

25 fees is not yet known, and Beatbox will ask leave of this Court to insert such amount

26 at the time of trial.

27
           WHEREFORE, Plaintiff Beatbox prays for judgment as set forth below.

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                           FIRST AMENDED COMPLAINT FOR DAMAGES
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 1
                             FOURTH CAUSE OF ACTION

 2
                                (Breach of Fiduciary Duty)

 3
                              (Against Defendant Labrador)

 4        66.   Plaintiff repeats and re-alleges paragraphs 1 through 65 contained in

 5 this Complaint, as though said paragraphs were set forth in full herein.

 6        67.   Defendants, acting as the Publisher of the Music Library, owed Plaintiff

 7 Beatbox fiduciary duties of duties of care, loyalty, candor, good faith and fair

 8 dealing, and independence. Beatbox, as the Sub-Publisher, relied on the Publisher to

 9 provide them with a Music Library free of any copyright infringement.

10        68.   Beatbox placed its trust and confidence in Defendant in that regard,

11 which was assumed and accepted. Defendants were obligated to fulfill the 2009

12 Agreement with the utmost care and good faith.

13        69.   Defendant Labrador violated the fiduciary duty of care, loyalty, candor,

14 good faith and fair dealing, and independence owed to Plaintiff Beatbox and has

15 acted to put the personal interests of Defendant Labrador ahead of the interests of

16 Plaintiff Beatbox.

17        70.   Defendant Labrador failed to exercise the care required, and breached
18 his duties of care, loyalty, candor, good faith and fair dealing, and independence

19 owed to Plaintiff Beatbox by, among others, sending Plaintiff Beatbox a Music

20 Library that was not in compliance with copyright laws.

21        71.   Defendant Labrador knew or should have known that the Musical
22 Composition infringed upon the rights of third parties.

23        72.   By reason of the foregoing acts, practices, and course of conduct,
24 Defendant Labrador failed to exercise ordinary care and diligence in the exercise of

25 its fiduciary obligations toward Plaintiff Beatbox.

26        73.   As a direct and proximate result of Defendants’ breaches of their duties,
27 Plaintiff Beatbox has suffered damages in an amount to be proven at trial.

28        74.   Defendants’ conduct was intentionally deceitful and done with the
                                              12
                           FIRST AMENDED COMPLAINT FOR DAMAGES
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 1
     intent of depriving Beatbox of its legal rights, and to cause it injury. Defendants’

 2
     actions subjected Beatbox to unjust hardship and undue injury. Defendants’ conduct

 3
     was malicious, fraudulent and oppressive, and was committed with a conscious

 4 disregard of the rights of Beatbox. Accordingly, Beatbox is entitled to an award of

 5 punitive or exemplary damages in an amount sufficient to punish Defendants.

 6         WHEREFORE, Plaintiff Beatbox prays for judgment as set forth below.

 7                                  FIFTH CAUSE OF ACTION

 8                                        (Alter Ego Theory)

 9   (Against Defendants Labrador Entertainment, LLC, Labrador Entertainment,

10                        Inc., Noel Webb, And The Webb Family Trust)

11         75.        Plaintiff repeats and re-alleges paragraphs 1 through 74 contained in

12 this Complaint, as though said paragraphs were set forth in full herein.

13         76.        There exists and at all times herein relevant there existed a unity of

14 interest and ownership between Labrador Entertainment, Inc. D/B/A Spider Cues

15 Music Library, Labrador Entertainment, LLC, Noel Palmer Webb, and The Webb

16 Family Trust such that any individuality and separateness between Labrador

17 Entertainment, Inc., Labrador Entertainment, LLC, the Webb Family Trust, and

18 Webb has ceased, and Labrador Entertainment, Inc. is the alter ego of Webb and

19 Labrador Entertainment, LLC and The Webb Family Trust in that:

20               a.      Defendant Labrador Entertainment, Inc. is a mere shell and sham
21                       without capital, assets, stock, or stockholders. Webb has used
22                       Labrador Entertainment, Inc., Labrador Entertainment, LLC and The
23                       Webb Family Trust to avoid individual liability and for the purpose
24                       of hindering, delaying, or defrauding all of Webb’s, Labrador
25                       Entertainment, Inc. and Labrador Entertainment, LLC’s then or
26                       future creditors, including Plaintiff, in the collection of their claims
27                       against Defendants.
28               b.      Webb has utilized the assets of Labrador Entertainment, Inc. for his
                                                    13
                                FIRST AMENDED COMPLAINT FOR DAMAGES
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 1
                        personal use, has caused assets of Labrador Entertainment, Inc. to be

 2
                        transferred to Labrador Entertainment, LLC without adequate

 3
                        consideration, has transferred the assets Labrador Entertainment,

 4                      Inc. without adequate consideration, and has caused funds belonging

 5                      to Labrador Entertainment, Inc. to be diverted to bank accounts

 6                      belonging to Labrador Entertainment, LLC.

 7              c.      Webb has caused Labrador Entertainment, Inc. to become a mere

 8                      shell, instrumentality, and conduit through which Webb carried on

 9                      business in Labrador Entertainment, Inc. and Labrador

10                      Entertainment, LLC exactly as he had conducted business prior to

11                      organization, exercising complete control and dominance of such

12                      business to such an extent that any individuality or separateness of

13                      Labrador Entertainment, Inc, versus Webb and/or Labrador

14                      Entertainment, LLC does not and at all times herein mentioned did

15                      not exist.

16              d.      Labrador Entertainment, Inc. and Labrador Entertainment, LLC are

17                      and were controlled, dominated, and operated by Webb in his
18                      individual capacity in that the activities and business of both
19                      Labrador corporate entities were carried out without the holding of
20                      directors' or shareholders' meetings, without maintaining records or
21                      minutes of proceedings, and without other directors or shareholders
22                      approving personal transactions between Webb and the Labrador
23                      entities.
24        77.        Adherence to the fiction of the separate existence of Labrador
25 Entertainment, Inc., and Labrador Entertainment, LLC, THE WEBB FAMILY

26 TRUST as entities distinct from Webb would permit an abuse of the corporate

27 privilege and would sanction fraud and permit injustice in that Plaintiff would be

28 prohibited from enforcing the Judgment.
                                                  14
                               FIRST AMENDED COMPLAINT FOR DAMAGES
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 1
          WHEREFORE, Plaintiff Beatbox prays for judgment as set forth below.

 2
                                   SIXTH CAUSE OF ACTION

 3
                                         (Alter Ego Theory)

 4                   (Against Defendant Cohen, And MCPC Holdings, LLC)

 5        78.        Plaintiff repeats and re-alleges paragraphs 1 through 77 contained in

 6 this Complaint, as though said paragraphs were set forth in full herein.

 7        79.        There exists and at all times herein relevant there existed a unity of

 8 interest and ownership between MCPC Holdings, LLC (“MCPC, LLC”) and

 9 Michael Cohen, such that any individuality and separateness between MCPC, LLC

10 and Cohen has ceased, and MCPC, LLC is the alter ego of Cohen in that:

11              a.      Cohen is the sole owner of MCPC, LLC;

12              b.      On information and belief, Cohen incorporated MCPC, LLC to

13                      avoid Judgment creditors;

14              c.      On information and belief Cohen has used MCPC, LLC to avoid

15                      individual liability and for the purpose of hindering, delaying, or

16                      defrauding all of Cohen’s then or future creditors, including

17                      Plaintiff, in the collection of their claims against Defendants.
18              d.      On information and belief, Cohen has caused MCPC, LLC to
19                      become an instrumentality and conduit through which Cohen’s
20                      carried on business exactly as he had conducted business as an
21                      individual to such an extent that any individuality or separateness of
22                      MCPC, LLC, versus Cohen does not and at all times herein
23                      mentioned did not exist.
24              e.      MCPC, LLC is and was controlled, dominated, and operated by
25                      Cohen in his individual capacity in that on information and belief the
26                      activities and business of MCPC, LLC was carried out without the
27                      holding of directors' or shareholders' meetings, without maintaining
28                      records or minutes of proceedings, and without other directors or
                                                   15
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 1
                    shareholders approving personal transactions between Cohen and

 2
                    MCPC, LLC.

 3
          80.    Adherence to the fiction of the separate existence of MCPC, LLC as an

 4 entity distinct from Cohen would permit an abuse of the corporate privilege and

 5 would sanction fraud and permit injustice in that Plaintiff would be prohibited from

 6 enforcing the Judgment.

 7        WHEREFORE, Plaintiff Beatbox prays for judgment as set forth below.

 8                           SEVENTH CAUSE OF ACTION

 9                      (Fraudulent Conveyance At Common Law)

10   (Against Defendants Labrador Entertainment, LLC, Labrador Entertainment,

11      Inc., Noel Webb, Defendant Cohen, The Webb Family Trust and MCPC

12                                     Holdings, LLC)

13        81.    Plaintiff repeats and re-alleges paragraphs 1 through 80 contained in

14 this Complaint, as though said paragraphs were set forth in full herein.

15        82.    After becoming aware of the claims against him by Plaintiff, Noel

16 Webb caused Defendant Labrador Entertainment, Inc, to transfer all of the assets of

17 it to THE WEBB FAMILY TRUST and then to Defendant Labrador Entertainment,

18 LLC.

19        83.    After becoming aware of the claims against him by Plaintiff, Michael
20 Cohen sold his real estate and transferred all of the security interest assets to MCPC

21 Holdings, LLC.

22        84.    Further, Defendant Webb continues to direct and divert payments which
23 belong to Defendant Labrador Entertainment, Inc. to Defendant Labrador

24 Entertainment, LLC with the intent to prevent Plaintiff from reaching that interest to

25 satisfy its claim.

26        85.    But for Defendants’ actions in fraudulently transferring their assets to
27 the detriment of Plaintiff, Plaintiff would have been able to collect from the assets of

28 Defendant Cohen and Defendant Labrador Entertainment, Inc.
                                        16
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 1
          WHEREFORE, Plaintiff Beatbox prays for judgment as set forth below.

 2
                              EIGHTH CAUSE OF ACTION

 3
                       (Fraudulent Conveyance Under California’s

 4                           Uniform Fraudulent Transfer Act)

 5   (Against Defendants Labrador Entertainment, LLC, Labrador Entertainment,

 6      Inc., The Webb Family Trust, Noel Webb, Defendant Cohen and MCPC

 7                                     Holdings, LLC)

 8        86.    Plaintiff repeats and re-alleges paragraphs 1 through 85 contained in

 9 this Complaint, as though said paragraphs were set forth in full herein.

10        87.    After becoming aware of the claims against him by Plaintiff, Noel

11 Webb caused Defendant Labrador Entertainment, Inc, to transfer all of the assets of

12 it to Defendant Labrador Entertainment, LLC, including but not limited to,

13 copyrights and the right to collect income for the exploitation of the copyrights of

14 others.

15        88.    After becoming aware of the claims against him by Plaintiff, Michael

16 Cohen sold his real estate and transferred all of the security interest assets to MCPC

17 Holdings, LLC.

18        89.    Further, Defendant Webb continues to direct and divert payments which
19 belong to Defendant Labrador Entertainment, Inc. to Defendant Labrador

20 Entertainment, LLC with the intent to prevent Plaintiff from reaching the interests of

21 Defendant Labrador Entertainment, Inc. to satisfy its claim.

22        90.    But for Defendant Webb and Defendant Cohen’s actions in transferring
23 assets, Plaintiff would have been able to collect from Defendants the assets that have

24 been transferred with the obvious intent to deprive Plaintiff from its ability to collect

25 against Defendant Cohen and Defendant Labrador Entertainment, Inc.

26        91.    Defendant Cohen and Defendant Labrador Entertainment, Inc. both
27 acted with actual intent to hinder, delay, and/or defraud Plaintiff.

28        92.    Defendant Cohen and Defendant Labrador Entertainment, Inc. in failing
                                               17
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 1
     to comply with their contractual indemnity obligations which gave rise to Plaintiff’s

 2
     damages and claims herein, and in transferring their assets reasonably anticipated

 3
     that Plaintiff would be unable to collect from Defendant Cohen and/or Defendant

 4 Labrador Entertainment, Inc.

 5         93.   Defendants Labrador Entertainment, LLC, MCPC Holdings, LLC,

 6 Defendant Webb, Defendant Webb Family Trust aided and abetted Defendant Cohen

 7 and Defendant Labrador Entertainment, Inc in the commission of the intentional tort

 8 of fraudulent transfer because (a) each knew the other's conduct constitutes a breach

 9 of duty and gave substantial assistance or encouragement to the other Defendants to

10 so act or (b) gave substantial assistance to the other in accomplishing a tortious result

11 and the defendant's own conduct, separately considered, constitutes a breach of duty

12 to the third person.

13         WHEREFORE, Plaintiff Beatbox prays for judgment as set forth below

14                                  PRAYER FOR RELIEF

15         WHEREFORE, Plaintiff prays for judgment as follows:

16         For the First Cause of Action:

17               1.       a sum in excess of $75,000 as proven at trial; and
18         For the Second Cause of Action:
19               2.       a sum in excess of $75,000 as proven at trial.
20         For the Third Cause of Action:
21               3.       a sum in excess of $75,000 as proven at trial.
22         For the Fourth Cause of Action:
23               4.       a sum in excess of $75,000 as proven at trial.
24               5.       for punitive damages in an amount sufficient to punish
25                        Defendants.
26         For the Fifth Cause of Action:
27               6.       a sum in excess of $75,000 as proven at trial; And that Labrador
28                        and Webb be held jointly and severally liable for all elements of
                                                18
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 1
                      the Judgement obtained on behalf of Plaintiff and against

 2
                      Defendants Webb and Labrador;

 3
                7.    punitive damages according to proof.

 4        For the Sixth Cause of Action:

 5              8.    a sum in excess of $75,000 as proven at trial; And that Labrador

 6                    and Webb be held jointly and severally liable for all elements of

 7                    the Judgement.

 8              9.    punitive damages according to proof.

 9        For the Seventh Cause of Action:

10              10.   a sum in excess of $75,000 as proven at trial; And that Labrador

11                    and Webb be held jointly and severally liable for all elements of

12                    the Judgement.

13              11.   punitive damages according to proof.

14        For the Eighth Cause of Action:

15              12.   a sum in excess of $75,000 as proven at trial; And that Labrador

16                    and Webb be held jointly and severally liable for all elements of

17                    the Judgement.
18              13.   punitive damages according to proof.
19        For All Causes of Action;
20              14.   for interest on such principal sum at the rate of 10% per annum,
21                    pursuant to Cal. Civ. Code § 3289;
22              15.   a constructive trust pursuant to Cal. Civ. Code §§2223, 2224;
23              16.   enter an order voiding any transfers of assets made by Defendant
24                    Cohen and/or Defendant Labrador Entertainment, Inc. since their
25                    knowledge of the claims underlying this suit;
26              17.   punitive damages for intentional torts;
27              18.   for attorney’s fees and costs of suit incurred herein pursuant to
28                    contract; and
                                             19
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 1
                19.   for such other and further relief as the Court deems just and

 2
                      proper.

 3
                                      JURY DEMAND

 4                Plaintiff demands trial by jury on all issues so triable.

 5

 6

 7 Dated: 24th day of January, 2020

 8

 9                                                  Respectfully submitted,
                                                  BEATBOX MUSIC PTY LTD.
10

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13                                                 HEATHER L. BLAISE, ESQ.
14                                                    One of its attorneys

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                                             20
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